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                                      CAUSE NO. 2020-69428

KIMBERLY F. MILLS, Individually and               §             IN THE DISTRICT COURT
as Independent Executrix of the Estate of         §
ARTHUR MARK MILLS, and on Behalf                  §
of the Beneficiaries to the Estate to             §
include JEREMY M. MILLS, LEVI C.                  §
MILLS and APRIL C. WEBB, Each                     §
Individually and as WRONGFUL                      §
DEATH BENEFICIARIES OF                            §
ARTHUR MARK MILLS, Deceased                       §
                                                  §
           Plaintiffs,                            §
                                                  §
v.                                                §             157TH JUDICIAL DISTRICT
                                                  §
UNITED AIRLINES, INC.,                            §
EXPRESSJET AIRLINES, LLC, ABM                     §
AVIATION, INC., SIMPLICITY                        §
GROUND SERVICES, LLC d/b/a                        §
SIMPLICITY USA, ANTONIO                           §
DELEON, JESSICA MORA and                          §
PRYSTAL MILTON,                                   §
                                                  §
           Defendants.                            §             HARRIS COUNTY, TEXAS


                              STATE COURT PLEADINGS INDEX

      Tab                                 Description                                Filed
       1         Plaintiffs’ Original Petition, Requests for Disclosures, and     10/28/2020
                 Request for Jury Trial
       2         Executed Return of Service to Prystal Milton                     11/04/2020
       3         Executed Return of Service to Simplicity Ground Services,        11/09/2020
                 LLC d/b/a Simplicity USA
       4         Executed Return of Service to ABM Aviation, Inc.                 11/11/2020
       5         Executed Return of Service to ABM Aviation, Inc.                 11/11/2020
       6         Executed Return of Service to United Airlines, Inc.              11/11/2020
       7         Executed Return of Citation to Antonio DeLeon                    11/20/2020
       8         Defendants ABM Aviation, Inc., Jessica Mora, and Prystal         11/22/2020
                 Milton’s Original Answer to Plaintiff’s Original Petition and
                 Request for Disclosures


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    Tab                                   Description                            Filed
     9        Original Answer, Jury Demand, and Request for Disclosure of     11/23/2020
              Defendant United Airlines, Inc.
     10       Original Answer of Defendant Simplicity Ground Services,        01/15/2021
              LLC
     11       Plaintiffs’ First Amended Petition                              02/01/2021
     12       Executed Return of Service to Antonio DeLeon                    02/08/2021
     13       Executed Return of Service to ExpressJet Airlines, LLC          02/08/2021
     14       Defendant Antonio DeLeon’s Original Answer                      02/26/2021
     15       Defendant Antonio DeLeon’s Original Answer to Plaintiff’s       02/28/2021
              Original Petition and Request for Disclosures
     16       Defendant ExpressJet Airlines, LLC’s Original Answer and        03/08/2021
              Jury Demand




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                     2020-69428 / Court: 157
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                              TAB 2
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 17 of 7911/4/2020 10:23 AM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 47796314
                                                                                  By: Johnathan Johnson
                                                                              Filed: 11/4/2020 10:23 AM
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 18 of 79




                              TAB 3
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 19 of 7911/9/2020 10:33 AM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 47918859
                                                                                  By: Johnathan Johnson
                                                                              Filed: 11/9/2020 10:33 AM
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 20 of 79




                              TAB 4
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 21 of 7911/11/2020 9:27 AM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 47996868
                                                                                  By: Johnathan Johnson
                                                                              Filed: 11/11/2020 9:27 AM
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 22 of 79




                              TAB 5
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 23 of 7911/11/2020 9:22 PM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 48020459
                                                                                       By: LISA COOPER
                                                                              Filed: 11/11/2020 9:22 PM
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 24 of 79




                              TAB 6
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 25 of 7911/11/2020 9:24 AM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 47996581
                                                                                  By: Johnathan Johnson
                                                                              Filed: 11/11/2020 9:24 AM
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 26 of 79




                              TAB 7
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 27 of 7911/20/2020 4:39 PM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 48310665
                                                                                       By: LISA COOPER
                                                                              Filed: 11/20/2020 4:39 PM
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 28 of 79




                              TAB 8
  Case 4:21-cv-01241          Document 1-3         Filed on 04/14/21 in TXSD       Page 29 of 79     11/22/2020 10:09 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 48321238
                                                                                                        By: LISA COOPER
                                                                                              Filed: 11/23/2020 12:00 AM

                                         CAUSE NO. 202069428

                                                     §
 KIMBERLY F. MILLS, Individually and                 §          IN THE DISTRICT COURT OF
 As Independent Executrix of the Estate of           §
 ARTHUR MARK MILLA, and on behalf                    §
 of the Beneficiaries to the Estate to               §
 include JEREMY M. MILLS, LEVI C.                    §
 MILLS AND APRIL C. WEBB, Each                       §
 Individually and as WRONGFUL                        §
 DEATH BENEFICIARIES OF ARTHUR                       §
 MARK MILLS, DECEASED                                §
       Plaintiffs,                                   §            HARRIS COUNTY, TEXAS
                                                     §
 vs.                                                 §
                                                     §
 UNITED AIRLINES, INC., ABM                          §
 AVIATION, INC., SIMPLICITY                          §
 GROUND SERVICES, LLC D/B/A                          §
 SIMPLICITY USA, ANTONIO                             §
 DELEON, JESSICA MORA, AND                           §
 PRYSTAL MILTON                                      §
     Defendants.                                     §              157th DISTRICT COURT
                                                     §

 DEFENDANTS ABM AVIATION, INC., JESSICA MORA, AND PRYSTAL MILTON’S
        ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION
                  AND REQUEST FOR DISCLOSURES


TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COME Defendants, ABM Aviation, Inc., Jessica Mora, and Prystal Milton

(collectively “Defendants”) in response to Plaintiffs’ Original Petition, reserves the right to file

other and further exceptions, denials and affirmative defenses, file this Answer. In support,

thereof, Defendants will respectfully show unto the Court as follows:




ABM AVIATION, INC.’S, JESSICA MORA, AND PRYSTAL MILTON’S ORIGINAL ANSWER                                 1
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                                               I.
                                         GENERAL DENIAL

        Pursuant to Rule 92, Texas Rules of Civil Procedure, Defendants deny each and every

material allegation alleged in Plaintiffs’ Original Petition and demand strict proof thereof by a

preponderance of the evidence.

                                                II.
                                       AFFIRMATIVE DEFENSES

        1.      Defendants aver that the Plaintiffs’ Original Petition fails to state a claim or cause

of action against Defendants upon which relief can be granted.

        2.      Defendants allege that if Decedent was injured as alleged, such injury was the

proximate result, in whole or in part, of Decedent’s own contributing negligence and any damages

to which Plaintiffs are entitled should be reduced in an amount proportionate to the extent that

Decedent’s negligence contributed to same.

        3.      Defendants allege that if Decedent was injured as alleged, then said injuries were

proximately caused by, or contributed to risks assumed by Decedent or open and obvious

conditions.

        4.      Defendants allege that the physical condition of which Plaintiffs complain is due,

in whole or in part, to prior occurring injuries or illnesses or subsequent occurring injuries or

illnesses to Decedent, or to natural causes and diseases, all unrelated to the alleged incident made

the basis of Plaintiffs suit herein.

        5.      Defendants allege that the Plaintiffs’ damages, if any, were caused in whole or part

by the negligence of third parties or persons for whom these Defendants are not legally responsible.




ABM AVIATION, INC.’S, JESSICA MORA, AND PRYSTAL MILTON’S ORIGINAL ANSWER                            2
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        6.      Defendants deny anyone for whom it may be responsible was guilty of any

negligence, want of due care, or other legal fault constituting a proximate cause of the alleged

accident in question.

        7.      Defendants allege that the Decedent’s accident was the result of a superseding

and/or intervening cause or causes thereby precluding Plaintiffs from recovering any damages

against Defendants herein.

        8.      Pleading further and in the alternative, in the event liability is found on the part of

the Defendants, which is at all times is denied, Defendants aver that they would be entitled to a

credit for the amounts of all compensation, medical expenses, benefits, supplemental payments

and advances, paid to and/or on behalf of the Plaintiffs.

        9.      Defendants contends, without waiving the foregoing, that Plaintiffs recovery, if

any, of medical or health care expenses incurred is limited to the amount actually paid or incurred

by or on behalf of the Decedent, pursuant to TEX. CIV. PRAC. & REM. CODE §41.0105.

        10.     Defendants contend, the contract of carriage constitutes the entire agreement

between Defendants and Plaintiffs and supersedes all other agreements or representations, whether

oral or written. The contract of carriage applies and limits Plaintiffs damages.

        11.     Pleading further and in the alternative, without waiving the foregoing, Defendants

invoke the doctrine of proportionate responsibility. Accordingly, while Defendants deny any

liability herein, Defendants request that the trier of fact compare the relative percentages of fault

of the Decedent, Defendants, settling person, and/or any other responsible third party or parties, if

any, pursuant to the doctrine of proportionate responsibility as set forth in TEX. CIV. PRAC. & REM.

CODE §33.001, ET SEQ.




ABM AVIATION, INC.’S, JESSICA MORA, AND PRYSTAL MILTON’S ORIGINAL ANSWER                             3
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        12.     Defendants allege that evidence, if any, offered by Plaintiffs to prove loss of

earnings or lost earning capacity must be presented in the form of a net loss after reduction for

income tax payments. TEX. CIV. PRAC. & REM. CODE § 18.091.

        13.     Defendants invokes the provisions of the Texas Finance Code Chapter 304

regarding limitations and restrictions on recovery of prejudgment and post-judgment interest.

        14.     Defendants affirmatively pleads the limitation of punitive damage recoveries

provided by § 41.008 of the TEX. CIV. REM. & PRAC. CODE as it applies to Plaintiffs claims herein.

        15.     Plaintiffs damages and injuries, if any, were the direct result of Decedent’s own

failure to mitigate damages.

                                            III.
                                   REQUEST FOR DISCLOSURE

        Pursuant to Rule 194, Plaintiffs are requested to disclose, within thirty (30) days of service

of this request, the information or material described in TEX. R. CIV. P. 194.2(A)-(L).

                                                 IV.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendants, ABM Aviation, Inc., Jessica

Mora, and Prystal Milton respectfully request that that Plaintiffs take nothing by its Original

Petition, that Defendants recover costs, and are granted such other and further relief to which it

may show to be justly entitled.




ABM AVIATION, INC.’S, JESSICA MORA, AND PRYSTAL MILTON’S ORIGINAL ANSWER                            4
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                                                 Respectfully submitted,

                                                 ROSE LAW GROUP PLLC

                                                 /s/ Marc Michael Rose___________
                                                 Marc Michael Rose
                                                 State Bar No. 24098350
                                                 777 Main Street, Suite 600
                                                 Ft. Worth, Texas 77024
                                                 Telephone: (817) 887-8118
                                                 Facsimile: (817) 887-8001
                                                 E-mail: marc@roselg.com
                                                 COUNSEL FOR DEFENDANTS ABM
                                                 AVIATION, INC., JESSICA MORA AND
                                                 PRYSTAL MILTON

                                   CERTIFICATE OF SERVICE

      This is to certify that on November 22, 2020, a true and correct copy of the foregoing
document was served by electronic service on:

Tobias A. Cole
Mary E. Allen
THE COLE LAW FIRM
1616 S. Voss Road, Suite 450
Houston, Texas 77057
Telephone: (832) 539-4900
Facsimile: (832) 539-4899
E-mail: toby@colelawtx.com
E-mail: mary@colelawtx.com
COUNSEL FOR PLAINTIFFS

Robert E. Ammons
The Ammon Law Firm, L.L.P.
3700 Montrose Boulevard
Houston, Texas 77006
Telephone: (713) 523-1606
Facsimile: (713) 523-4159
E-mail: rob@ammonslaw.com
E-mail: terri@ammonslaw.com
COUNSEL FOR PLAINTIFFS
                                                         /s/ Marc Michael Rose_______
                                                         Marc Michael Rose




ABM AVIATION, INC.’S, JESSICA MORA, AND PRYSTAL MILTON’S ORIGINAL ANSWER                         5
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                              TAB 9
     Case 4:21-cv-01241       Document 1-3        Filed on 04/14/21 in TXSD           Page 35 of 7911/23/2020 3:05 PM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 48354159
                                                                                                           By: LISA COOPER
                                                                                                  Filed: 11/23/2020 3:05 PM

                                            No. 202069428

KIMBERLY F. MILLS, Individually and as                  §       IN THE DISTRICT COURT OF
Independent Executrix of the Estate of                  §
ARTHUR MARK MILLS, and on behalf                        §
of the Beneficiaries to the Estate to include           §
JEREMY M. MILLS, LEVI C. MILLS, AND                     §
APRIL C. WEBB, Each Individually and as                 §
WRONGFUL DEATH BENEFICIARIES                            §
OF ARTHUR MARK MILLS, DECEASED,                         §
                                                        §
                                                        §       HARRIS COUNTY, TEXAS
                         Plaintiffs,                    §
v.                                                      §
                                                        §
UNITED AIRLINES, INC., ABM AVIATION                     §
INC., SIMPLICITY GROUND SERVICES,                       §
LLC d/b/a SIMPLICITY USA, ANTONIO                       §
DELEON, JESSICA MORA, and PRYSTAL                       §
MILTON,                                                 §
                                                        §
                         Defendants.                    §       157th JUDICIAL DISTRICT

                ORIGINAL ANSWER, JURY DEMAND, AND REQUEST FOR
                 DISCLOSURE OF DEFENDANT UNITED AIRLINES, INC.

To the Honorable Judge of this Court:

         Defendant UNITED AIRLINES, INC. (hereinafter “Answering Defendant”) files this

Answer, Jury Demand and Request for Disclosure in response to Plaintiffs’ Original Petition and

respectfully submits as follows:

                                        GENERAL DENIAL

      1. Pursuant to Texas R. Civ. P. 92, Answering Defendant generally denies all material

         allegations of Plaintiffs’ Original Petition and demands strict proof of the same at trial.

                                         SPECIAL DENIAL

      2. Answering Defendant specially denies that it participated in the transportation of Plaintiff

         on the date of the incident described in the Original Petition.
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                                SPECIAL EXCEPTION

 3. Answering Defendant specially excepts to Plaintiffs’ Original Petition in that it fails to

    specify the maximum amount of damages claimed. Pursuant to Texas R. Civ. P. 47,

    Answering Defendant requests that the Court sustain their exception and require Plaintiffs

    to amend their pleading to specify the maximum amount of damages claimed.

                              AFFIRMATIVE DEFENSES

 4. Answering Defendant alleges by way of affirmative defense that the occurrence about

    which Plaintiffs complain was an unavoidable accident; a nonhuman event not proximately

    caused by the negligence of any party to it.

 5. Answering Defendant alleges by way of affirmative defense that the occurrence about

    which Plaintiffs complain was caused solely by an act of God, and was not caused by the

    negligence of any person, in that the occurrence at issue was caused directly and

    exclusively by the violence of nature, without human intervention or cause, and could not

    have been prevented by reasonable foresight or care.

 6. Answering Defendant alleges by way of affirmative defense that the alleged injuries and

    damages were caused or contributed to by a third party over whom Answering Defendant

    had no supervision or control.

 7. Answering Defendant alleges by way of affirmative defense that the alleged injuries and

    damages were caused by an intervening or superseding cause for which Answering

    Defendant is not responsible.

 8. Answering Defendant further alleges by way of affirmative defense that Plaintiffs and

    Plaintiffs’ Decedent assumed the risk of the harms complained of in the Original Petition.
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    9. Answering Defendant further alleges by way of affirmative defense that Plaintiffs and

        Plaintiffs’ Decedent were contributorily negligent in causing the harms complained of in

        the Original Petition.

                                       RULE 193.7 NOTICE

    10. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Answering Defendant

        provides notice of its intent to use all documents produced by the Plaintiffs at any hearings,

        pretrial proceedings and the trial of this case.

                                              JURY DEMAND

    11. Answering Defendant demands a trial by jury.

                                     REQUEST FOR DISCLOSURE

    12. Pursuant to the Texas Rules of Civil Procedure, Answering Defendant requests that the

        Plaintiffs disclose the information or material described in Rule 194.2 (a) – (l) within thirty

        days of the filing of this request.

                                              PRAYER

        THEREFORE, Defendant UNITED AIRLINES, INC. respectfully requests that the

Plaintiffs take nothing in their suit against Answering Defendant, Answering Defendant recovers

costs of suit, and that Answering Defendant be granted any other relief to which they are justly

entitled.

                                                           Respectfully submitted,

                                                           STEPP & SULLIVAN, P.C.

                                                                   /s/ Jad J. Stepp
                                                           Jad J. Stepp
                                                           State Bar No. 19169100
                                                           5300 Memorial Drive, Suite 620
                                                           Houston, Texas 77007
                                                           Telephone: (713) 336-7200
                                                           Facsimile: (713) 336-7250
                                                           E-mail: jstepp@ss-pc.com
  Case 4:21-cv-01241        Document 1-3        Filed on 04/14/21 in TXSD        Page 38 of 79




                                CERTIFICATE OF SERVICE

       I, the undersigned attorney of record for Defendant UNITED AIRLINES, INC. certifies
that on this 23rd day of November 2020, a true and correct copy of the foregoing Answer was
served on the below-listed parties via United States certified mail, return receipt requested and on
counsel of record as noted below:

Via ECF
Tobias A. Cole                                       ABM Aviation, Inc.
Mary E. Allen                                        c/o C T Corporation System
THE COLE LAW FIRM                                    1999 Bryan Street, Suite 900
1616 South Voss Road, Suite 450                      Dallas, Texas 75201
Houston, Texas 77057
                                                     Simplicity Ground Services, LLC
-and-                                                c/o Corporation Service Company
                                                     d/b/a CSC-Lawyers Incorporating Service Co.
                                                     211 East 7th Street, Suite 620
Via ECF                                              Austin, Texas 78701-3218
Robert E. Ammons
THE AMMONS LAW FIRM, L.L.P.                          Antonio DeLeon
3700 Montrose Boulevard                              4106 East 1st Place
Houston, Texas 77006                                 Lubbock, Texas 79403

Attorneys for Plaintiffs                             Jessica Mora
KIMBERLY F. MILLS, Individually, as                  311 Melbourne Street
Independent Executrix of the Estate of               Houston, Texas 77022
ARTHUR MARK MILLS, and on behalf
of JEREMY M. MILLS, LEVI C.                          -and-
MILLS, and APRIL WEBB, Individually
and as WRONGFUL DEATH                                Prystal Milton
BENEFICIARIES OF ARTHUR MARK                         910 Cypress Station Drive, Apt. 307
MILLS, DECEASED                                      Houston, Texas 77090

                                                     Defendants



                                                             /s/ Jad J. Stepp
                                                     Jad J. Stepp
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                            TAB 10
     Case 4:21-cv-01241       Document 1-3        Filed on 04/14/21 in TXSD           Page 40 of 791/15/2021 4:19 PM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 49768780
                                                                                                           By: LISA COOPER
                                                                                                    Filed: 1/15/2021 4:19 PM

                                            No. 202069428

KIMBERLY F. MILLS, Individually and as                  §       IN THE DISTRICT COURT OF
Independent Executrix of the Estate of                  §
ARTHUR MARK MILLS, and on behalf                        §
of the Beneficiaries to the Estate to include           §
JEREMY M. MILLS, LEVI C. MILLS, AND                     §
APRIL C. WEBB, Each Individually and as                 §
WRONGFUL DEATH BENEFICIARIES                            §
OF ARTHUR MARK MILLS, DECEASED,                         §
                                                        §
                                                        §       HARRIS COUNTY, TEXAS
                        Plaintiffs,                     §
v.                                                      §
                                                        §
UNITED AIRLINES, INC., ABM AVIATION                     §
INC., SIMPLICITY GROUND SERVICES,                       §
LLC d/b/a SIMPLICITY USA, ANTONIO                       §
DELEON, JESSICA MORA, and PRYSTAL                       §
MILTON,                                                 §
                                                        §
                        Defendants.                     §       157th JUDICIAL DISTRICT

     ORIGINAL ANSWER OF DEFENDANT SIMPLICITY GROUND SERVICES, LLC

To the Honorable Judge of this Court:

         Defendant SIMPLICITY GROUND SERVICES, LLC (hereinafter “Answering

Defendant”) files this Answer in response to Plaintiffs’ Original Petition and respectfully submits

as follows:

                                        GENERAL DENIAL

      1. Pursuant to Texas R. Civ. P. 92, Answering Defendant generally denies all material

         allegations of Plaintiffs’ Original Petition and demands strict proof of the same at trial.

                                      SPECIAL EXCEPTION

      2. Answering Defendant specially excepts to Plaintiffs’ Original Petition in that it fails to

         specify the maximum amount of damages claimed. Pursuant to Texas R. Civ. P. 47,
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        Answering Defendant requests that the Court sustain their exception and require plaintiffs

        to amend their pleading to specify the maximum amount of damages claimed.

                                 AFFIRMATIVE DEFENSES

    3. Answering Defendant alleges by way of affirmative defense that the occurrence about

        which plaintiffs complain was an unavoidable accident; a nonhuman event not

        proximately caused by the negligence of any party to it.

    4. Answering Defendant further alleges by way of affirmative defense that the occurrence

        about which plaintiffs complain was caused solely by an act of God, and was not caused

        by the negligence of any person, in that the occurrence at issue was caused directly and

        exclusively by the violence of nature, without human intervention or cause, and could not

        have been prevented by reasonable foresight or care.

    5. Answering Defendant further alleges by way of affirmative defense that plaintiffs and

        plaintiffs’ Decedent assumed the risk of the harms complained of herein.

    6. Answering Defendant further alleges by way of affirmative defense that plaintiffs and

        plaintiffs’ Decedent were contributorily negligent in causing the harms complained of

        herein.

        THEREFORE, Defendant SIMPLICITY GROUND SERVICES, LLC respectfully

requests that the Plaintiffs take nothing in their suit against Answering Defendant, that Plaintiff

recover costs of suit, and that Answering Defendant be granted any other relief to which they are

justly entitled.

                                                     Respectfully submitted,

                                                     STEPP & SULLIVAN, P.C.

                                                             /s/ Jad J. Stepp
                                                     Jad J. Stepp
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                                                   State Bar No. 19169100
                                                   5300 Memorial Drive, Suite 620
                                                   Houston, Texas 77007
                                                   Telephone: (713) 336-7200
                                                   Facsimile: (713) 336-7250
                                                   E-mail: jstepp@ss-pc.com

                               CERTIFICATE OF SERVICE

        I, the undersigned attorney of record for Defendant SIMPLICITY GROUND
SERVICES, LLC certifies that on this 15th day of January 2021, a true and correct copy of the
foregoing Answer was served on the below-listed parties via United States certified mail, return
receipt requested and on counsel of record as noted below:

Via ECF
Tobias A. Cole
Mary E. Allen
THE COLE LAW FIRM
1616 South Voss Road, Suite 450
Houston, Texas 77057

and-

Via ECF
Robert E. Ammons
THE AMMONS LAW FIRM, L.L.P.
3700 Montrose Boulevard
Houston, Texas 77006
Attorneys for Plaintiffs

Via ECF
Marc Rose
ROSE LAW GROUP PLLC
777 Main Street, Suite 600
Ft. Worth, Texas 77024
Attorney for ABM Aviation, Inc.,
Jessica Mora and Prystal Milton

Via CM/RRR
Antonio DeLeon
4106 East 1st Place
Lubbock, Texas 79403
                                                           /s/ Jad J. Stepp
                                                   Jad J. Stepp
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                            TAB 11
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 44 of 792/1/2021 12:44 PM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 50224898
                                                                                          By: Brittany Hall
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Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD   Page 45 of 79
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                            TAB 12
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 60 of 792/8/2021 10:14 AM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 50437122
                                                                                  By: Johnathan Johnson
                                                                                Filed: 2/8/2021 10:14 AM
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                            TAB 13
Case 4:21-cv-01241   Document 1-3   Filed on 04/14/21 in TXSD     Page 62 of 79 2/8/2021 3:43 PM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 50461516
                                                                                  By: Johnathan Johnson
                                                                                 Filed: 2/8/2021 3:43 PM
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                            TAB 14
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                            TAB 15
  Case 4:21-cv-01241         Document 1-3       Filed on 04/14/21 in TXSD           Page 66 of 792/28/2021 8:35 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 51000011
                                                                                                         By: LISA COOPER
                                                                                                  Filed: 3/1/2021 12:00 AM

                                       CAUSE NO. 202069428

                                                  §
 KIMBERLY F. MILLS, Individually and              §         IN THE DISTRICT COURT OF
 As Independent Executrix of the Estate of        §
 ARTHUR MARK MILLA, and on behalf                 §
 of the Beneficiaries to the Estate to            §
 include JEREMY M. MILLS, LEVI C.                 §
 MILLS AND APRIL C. WEBB, Each                    §
 Individually and as WRONGFUL                     §
 DEATH BENEFICIARIES OF ARTHUR                    §
 MARK MILLS, DECEASED                             §
       Plaintiffs,                                §           HARRIS COUNTY, TEXAS
                                                  §
 vs.                                              §
                                                  §
 UNITED AIRLINES, INC., ABM                       §
 AVIATION, INC., SIMPLICITY                       §
 GROUND SERVICES, LLC D/B/A                       §
 SIMPLICITY USA, ANTONIO                          §
 DELEON, JESSICA MORA, AND                        §
 PRYSTAL MILTON                                   §
     Defendants.                                  §             157th DISTRICT COURT
                                                  §

       DEFENDANT ANTONIO DELEON’S ORIGINAL ANSWER TO PLAINTIFF’S
            ORIGINAL PETITION AND REQUEST FOR DISCLOSURES

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Defendant, Antonio DeLeon in response to Plaintiffs’ Original Petition,

reserves the right to file other and further exceptions, denials and affirmative defenses, files this

Answer. In support, thereof, Defendant will respectfully show unto the Court as follows:

                                             I.
                                       GENERAL DENIAL

        Pursuant to Rule 92, Texas Rules of Civil Procedure, Defendant denies each and every

material allegation alleged in Plaintiffs’ Original Petition and demand strict proof thereof by a

preponderance of the evidence.



DELEON’S ANSWER                                                                                           1
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                                                II.
                                       AFFIRMATIVE DEFENSES

        1.      Defendant avers that the Plaintiffs’ Original Petition fails to state a claim or cause

of action against Defendant upon which relief can be granted.

        2.      Defendant alleges that if Decedent was injured as alleged, such injury was the

proximate result, in whole or in part, of Decedent’s own contributing negligence and any damages

to which Plaintiffs are entitled should be reduced in an amount proportionate to the extent that

Decedent’s negligence contributed to same.

        3.      Defendant alleges that if Decedent was injured as alleged, then said injuries were

proximately caused by, or contributed to risks assumed by Decedent or open and obvious

conditions.

        4.      Defendant alleges that the physical condition of which Plaintiffs complain is due,

in whole or in part, to prior occurring injuries or illnesses or subsequent occurring injuries or

illnesses to Decedent, or to natural causes and diseases, all unrelated to the alleged incident made

the basis of Plaintiffs suit herein.

        5.      Defendant alleges that the Plaintiffs’ damages, if any, were caused in whole or part

by the negligence of third parties or persons for whom this Defendant is not legally responsible.

        6.      Defendant denies anyone for whom it may be responsible was guilty of any

negligence, want of due care, or other legal fault constituting a proximate cause of the alleged

accident in question.

        7.      Defendant alleges that the Decedent’s accident was the result of a superseding

and/or intervening cause or causes thereby precluding Plaintiffs from recovering any damages

against Defendant.



DELEON’S ANSWER                                                                                     2
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       8.      Pleading further and in the alternative, in the event liability is found on the part of

the Defendant, which is at all times is denied, Defendant avers that he would be entitled to a credit

for the amounts of all compensation, medical expenses, benefits, supplemental payments and

advances, paid to and/or on behalf of the Plaintiffs.

       9.      Defendant contends, without waiving the foregoing, that Plaintiffs recovery, if any,

of medical or health care expenses incurred is limited to the amount actually paid or incurred by

or on behalf of the Decedent, pursuant to TEX. CIV. PRAC. & REM. CODE §41.0105.

       10.     Defendant contends, the contract of carriage constitutes the entire agreement

between Defendants and Plaintiffs and supersedes all other agreements or representations, whether

oral or written. The contract of carriage applies and limits Plaintiffs damages.

       11.     Pleading further and in the alternative, without waiving the foregoing, Defendant

invokes the doctrine of proportionate responsibility. Accordingly, while Defendant denies any

liability herein, Defendant requests that the trier of fact compare the relative percentages of fault

of the Decedent, Defendants, settling person, and/or any other responsible third party or parties, if

any, pursuant to the doctrine of proportionate responsibility as set forth in TEX. CIV. PRAC. & REM.

CODE §33.001, ET SEQ.

       12.     Defendant alleges that evidence, if any, offered by Plaintiffs to prove loss of

earnings or lost earning capacity must be presented in the form of a net loss after reduction for

income tax payments. TEX. CIV. PRAC. & REM. CODE § 18.091.

       13.     Defendant invokes the provisions of the Texas Finance Code Chapter 304 regarding

limitations and restrictions on recovery of prejudgment and post-judgment interest.

       14.     Defendant affirmatively pleads the limitation of punitive damage recoveries

provided by § 41.008 of the TEX. CIV. REM. & PRAC. CODE as it applies to Plaintiffs claims herein.


DELEON’S ANSWER                                                                                     3
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       15.     Plaintiffs damages and injuries, if any, were the direct result of Decedent’s own

failure to mitigate damages.

                                           III.
                                  REQUEST FOR DISCLOSURE

       Pursuant to Rule 194, Plaintiffs are requested to disclose, within thirty (30) days of service

of this request, the information or material described in TEX. R. CIV. P. 194.2(A)-(L).

                                               IV.
                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant, Antonio DeLeon respectfully

request that that Plaintiffs take nothing by its Original Petition, that Defendant recover costs, and

is granted such other and further relief to which it may show to be justly entitled.




DELEON’S ANSWER                                                                                    4
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                                          Respectfully submitted,

                                          ROSE LAW GROUP PLLC

                                          /s/ Marc Michael Rose___________
                                          Marc Michael Rose
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                                          Ft. Worth, Texas 77024
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                                          Facsimile: (817) 887-8001
                                          E-mail: marc@roselg.com
                                          COUNSEL FOR DEFENDANT
                                          ANTONIO DELEON

                              CERTIFICATE OF SERVICE

      This is to certify that on February 28, 2021, a true and correct copy of the foregoing
document was served by electronic service on:

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Mary E. Allen
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COUNSEL FOR PLAINTIFFS




DELEON’S ANSWER                                                                            5
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Jad J. Stepp
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COUNSEL FOR DEFENDANTS
UNITED AIRLINES, INC. AND
SIMPLICITY GROUND SERVICES, LLC D/B/A
SIMPLICITY USA

                                          /s/ Marc Michael Rose_______
                                          Marc Michael Rose




DELEON’S ANSWER                                                                   6
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                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 51261656
                                                                                                         By: Kevin Childs
                                                                                                Filed: 3/8/2021 3:48 PM

                                   CAUSE NO. 2020-69428

KIMBERLY F. MILLS, Individually and              §           IN THE DISTRICT COURT
as Independent Executrix of the Estate of        §
ARTHUR MARK MILLS, and on Behalf                 §
of the Beneficiaries to the Estate to include    §
JEREMY M. MILLS, LEVI C. MILLS                   §
and APRIL C. WEBB, Each Individually             §
and as WRONGFUL DEATH                            §
BENEFICIARIES OF ARTHUR MARK                     §
MILLS, Deceased                                  §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §           157TH JUDICIAL DISTRICT
                                                 §
UNITED AIRLINES, INC.,                           §
EXPRESSJET AIRLINES, LLC, ABM                    §
AVIATION, INC., SIMPLICITY                       §
GROUND SERVICES, LLC d/b/a                       §
SIMPLICITY USA, ANTONIO                          §
DELEON, JESSICA MORA and                         §
PRYSTAL MILTON,                                  §
                                                 §
        Defendants.                              §           HARRIS COUNTY, TEXAS


                      DEFENDANT EXPRESSJET AIRLINES, LLC’S
                       ORIGINAL ANSWER AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Defendant ExpressJet Airlines, Inc. (“ExpressJet”), by its undersigned

attorneys, Patrick J. Comerford, RIGBY SLACK LAWRENCE BERGER AKINC PEPPER + COMERFORD,

PLLC, and files this Original Answer in response to the allegations contained in the First Amended

Original Petition of Kimberly Mills, Individually and as Independent Executrix of the Estate of

Arthur Mark Mills, and on Behalf of the Beneficiaries to the Estate to include Jeremy M. Mills,

Levi C. Mills and April C. Webb, each Individually and as Wrongful Death Beneficiaries of Arthur

Mark Mills, Deceased (“Plaintiff”), and would respectfully show the Court as follows:




DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                            PAGE 1
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                                     I. GENERAL DENIAL

       1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant ExpressJet

generally denies each and every, all and singular, the material allegations contained in Plaintiffs’

First Amended Petition, and any subsequent amended or supplemental petitions, and demands that

Plaintiff be required to provide strict proof thereof by a preponderance of the credible evidence, as

required by law.

                                II. AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       2.      Plaintiff possessed pre-existing conditions and all of their claimed damages did not

proximately result from the events complained of in their Petition.

                             SECOND AFFIRMATIVE DEFENSE

       3.      Plaintiff’s claim for the recovery of medical or health care expenses, if any, is

limited to the amount actually paid or incurred by or on behalf of the Plaintiff. TEX. CIV. PRAC. &

REM. CODE § 41.0105.

                              THIRD AFFIRMATIVE DEFENSE

       4.      Plaintiff’s claim for the recovery of lost wages or lost earnings is limited to, and

should be presented in the form of, a net loss after reduction for income tax payments or unpaid

tax liability. TEX. CIV. PRAC. & REM. CODE § 18.091.

                             FOURTH AFFIRMATIVE DEFENSE

         5.    Plaintiff’s claims are barred inasmuch as Plaintiff’s fault in the causation of their

 claimed injuries was greater than the fault, if any, of ExpressJet.

                              FIFTH AFFIRMATIVE DEFENSE

         6.    Plaintiff’s recovery in this action, if any, must be diminished by the amount of




DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                          PAGE 2
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 Plaintiff’s comparative fault.

                              SIXTH AFFIRMATIVE DEFENSE

         7.    Any injuries sustained by Plaintiff were as a result of the negligence, and/or

 intentional conduct of entities or persons over whom ExpressJet had no control.

                            SEVENTH AFFIRMATIVE DEFENSE

         8.    Any amount that Plaintiff claims, as compensatory damages, are diminished

 proportionately by the fault of Plaintiff, and the fault of all others who caused or contributed to

 the harm alleged.

                              NINTH AFFIRMATIVE DEFENSE

       9.      If Plaintiff sustained injuries as alleged, such injuries were the result of intervening

and/or superseding causes, and not ExpressJet’s alleged acts or omissions.

                              TENTH AFFIRMATIVE DEFENSE

       10.     Plaintiff failed to name a necessary party whose action and/or inactions caused or

contributed to Plaintiff’s alleged injuries and must be added as a party.

                           ELEVENTH AFFIRMATIVE DEFENSE

       11.     Plaintiff’s claims against Defendant ExpressJet are barred inasmuch as Plaintiff

assumed the risk of his own actions or inactions in causing his own injuries.

                            TWELFTH AFFIRMATIVE DEFENSE

       12.     Plaintiff’s claims against ExpressJet are barred by Plaintiff’s failure to mitigate

their claimed damages from this incident.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       13.     Plaintiff’s claims may be preempted, either explicitly or implicitly, in whole or in

part, by federal law, treaty or statute, including but not limited to the Airline Deregulation Act.



DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                            PAGE 3
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                           FOURTEENTH AFFIRMATIVE DEFENSE

       14.       Plaintiff’s claims are barred to the extent they involve transactions or events or seek

damages for periods outside the applicable statute of limitations.

                            FIFTEENTH AFFIRMATIVE DEFENSE

       15.       Plaintiff has failed to state a cause of action against ExpressJet pursuant to the

Montreal Convention.

                            SIXTEENTH AFFIRMATIVE DEFENSE

       16.       Pursuant to the Sudden Emergency Doctrine, ExpressJet cannot be held liable for

the naturally occurring conditions alleged to be the cause of the incident.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

       17.       Defendant ExpressJet invokes the provisions of the Texas Finance Code Chapter

304, regarding limitations and restrictions of recovery of prejudgment and post-judgment interest.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

       18.       Defendant ExpressJet affirmatively pleads the limitation of punitive damage

recoveries provided by § 41.008 of the TEX. CIV. REM & PRAC. CODE as it applies to Plaintiffs’

claims herein.

       19.       ExpressJet reserves the right to add and rely upon such other and further defenses

as may become apparent during the discovery of this action and reserve the right to amend their

Answer and other pleadings to assert such additional defenses and third-party claims.

                                    II. SPECIAL EXCEPTION

       20.       ExpressJet specifically excepts to Plaintiff’s First Amended Petition in that it fails

to specify the maximum amount of damages claimed. Pursuant to TEX. R. CIV. P. 47, ExpressJet

requests that the Court sustain their exception and require Plaintiffs to amend their pleading to




DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                             PAGE 4
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specify the maximum amount of damages claimed.

                               III. DEMAND FOR JURY TRIAL

        21.     ExpressJet demands a trial by jury and tenders the appropriate fee with this answer.

                              IV. REQUEST FOR DISCLOSURE

        22.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, ExpressJet requests

Plaintiff to disclose, within 30 days of service of this request, the information or material described

in TEX. R. CIV. P. 194.2(a)-(l).

                                     V. RULE 193.7 NOTICE

        23.     Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, ExpressJet provides

notice of its intent to use all documents produced by Plaintiffs at any hearings, pretrial proceedings

and the trial of this case.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant ExpressJet Airlines, Inc. prays

that upon final hearing Plaintiffs Kimberly Mills, Individually and as Independent Executrix of the

Estate of Arthur Mark Mills, and on Behalf of the Beneficiaries to the Estate to include Jeremy M.

Mills, Levi C. Mills and April C. Webb, each Individually and as Wrongful Death Beneficiaries

of Arthur Mark Mills, Deceased take nothing against Defendant ExpressJet in the above-entitled

and numbered cause, that Defendant ExpressJet recover its costs and reasonable and necessary

attorney’s fees from Plaintiff, and Defendant be granted such other and further relief to which it

may be justly entitled.




DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                            PAGE 5
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                                                       Respectfully submitted,

                                                       RIGBY SLACK LAWRENCE BERGER
                                                       AKINC PEPPER + COMERFORD, PLLC

                                                       By: /s/ Patrick J. Comerford
                                                             Patrick J. Comerford
                                                             State Bar No. 24096724

                                                       3500 Jefferson Street, Suite 330
                                                       Austin, Texas 78731
                                                       Telephone: (512) 782-2060
                                                       pcomerford@rigbyslack.com

                                                       ATTORNEYS FOR DEFENDANT
                                                       EXPRESSJET AIRLINES, INC.




DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                       PAGE 6
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 8, 2021, I electronically filed the foregoing with the Clerk
of the Court and I further certify that I have served the foregoing to the following.


                                      Robert E. Ammons
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             Counsel for Plaintiffs Kimberly Mills, Individually and as Independent
                      Executrix of the Estate of Arthur Mark Mills, et al.


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                                      jstepp@ss-pc.com
                        Counsel for Defendants United Airlines, Inc. and
                     Simplicity Ground Services, LLC, d/b/a Simplicity USA

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         Counsel for Defendants ABM Aviation, Inc., Jessica Mora and Prystal Milton

                                                       /s/ Patrick J. Comerford
                                                       Patrick J. Comerford




DEFENDANT EXPRESSJET AIRLINES, LLC’S ORIGINAL ANSWER                                        PAGE 7
